Case 3:14-cv-00853-RDM Document 786-2 Filed 05/29/24 Page 1 of 3




 EXHIBIT B
      Case 3:14-cv-00853-RDM Document 786-2 Filed 05/29/24 Page 2 of 3




                      UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF PENNSYLVANIA

Bobrick Washroom Equipment, Inc.,

    Plaintiff                                  Civil Action No. 3:14-CV-00853-RDM
       v.
                                                       Hon. Robert D. Mariani
Scranton Products, Inc.,

    Defendant


                            AFFIDAVIT OF DAN FRAME

      1.        I, Dan Frame, declare as follows:

      2.        I am Vice President – Partitions and Cubicles at Bobrick Washroom

Equipment, Inc.

      3.        My role at Bobrick is overseeing Bobrick’s profit and loss, business

development, and new product development for its toilet partitions business.

      4.        I am not familiar with Scranton Products, Inc.’s marketing and

advertising of toilet partitions as “E84,” “Class A,” or “Class B” compliant, as

alleged in Bobrick’s Third Enforcement Action.

      5.        I was not involved in the decision to bring the Third Enforcement

Action against Scranton Products, and have not been involved in any discussions

or decisions concerning the Third Enforcement Action.

      6.        I do not intend to testify at the evidentiary hearing on Bobrick’s Third

Enforcement Action.
      Case 3:14-cv-00853-RDM Document 786-2 Filed 05/29/24 Page 3 of 3




      7.    I therefore do not have information relevant to the Third Enforcement

Action.



      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct. Executed on May 29, 2024 in North

Hollywood, California.

                                                   /s/ Dan Frame
                                                   Dan Frame




                                         2
